Case: 1:25-mc-00002-JPC Doc#:1 Filed: 01/21/25 10f 10. PagelD #: 1

FILED =
UNITED STATES DISTRICT COURT JAN 2 1 2025
NORTHERN DISTRICT OF OHIO:
EASTERN DIVISION NORTHERN BERR ron

‘ " ed
IN RE SUBPOENA SERVED ON : Case No. 1: C 5 EC G 2 man
JAMES MOYER

judges JUDGE CALABRESE

MOTION TO QUASH SUBPOENA TO JAMES MOYER

James Moyer (the “Movant”), through counsel and pursuant to Federal Rules of Civil
Procedure 26 and 45, moves this Court to quash the deposition subpoena issued to him by Plaintiff
in SRH Holdings, Inc. v. Government Employees Insurance Co., D. Mass. No. 1:23-cv-10325,
because there are defects in the subpoena, it did not provide reasonable time to comply, and is an
undue burden as it seeks irrelevant information. The reasons for this motion are more fully

explained in the attached Memorandum of Law.

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Case: 1:25-mc-00002-JPC Doc#:1 Filed: 01/21/25 2 of 10. PagelD #: 2

MEMORANDUM OF LAW

Rule 45(d)(3) of the Federal Rules of Civil Procedure provides that “the court for the
district where compliance is required must quash” a subpoena that “(i) fails to allow a reasonable
time to comply; (ii) requires a person to comply beyond the geographical limits specified in Rule
45(c); Gii) requires disclosure of privileged or other protected matter, if no exception or waiver
applies; or (iv) subjects a person to undue burden.” District court’s may also quash a subpoena if
it does not comply with the requirements set forth in Rule 45. See, e.g, Hill v. Homeward
Residential, 799 F.3d 544, 552-53 (6th Cir. 2015) (affirming the grant of a motion to quash when
“subpoena failed several aspects of Federal Rule of Civil Procedure 45”).

Here, the subpoena requires compliance in this Court, as the subpoenaed deposition would
be conducted over Zoom, meaning that James Moyer would participate in his home in Avon, Ohio.
Ex, A (Subpoena); Declaration of James Moyer at 1. However, this Court should quash the
subpoena purportedly issued to Mr. Moyer because the subpoena fails several aspects of Rule 45,
fails to allow a reasonable time to comply, and subjects Mr. Moyer to undue burden.

A. The Subpoena Fails Several Aspects of Rule 45.

Rule 45 contains several requirements in order to properly serve an individual with a
subpoena. The subpoena “must state the method for recording the testimony.” Fed. R. Civ.
P. 45(a)(1)(B). The subpoena here does not comply with this requirement, as the method for
recording was left blank. See Ex. A.

Rule 45 also provides for service on the individual, which “requires delivering a copy to
the named person.” Fed. R. Civ. P. 45(b)(1). Courts generally construe this Rule as requiring
“personal service.” Damsi v. Tarpstop, LLC, 2023 U.S. Dist. LEXIS 232904, at *30 (N.D. Ohio

Oct. 19, 2023). While courts sometimes permit alternative means of service, such alternative
Case: 1:25-mc-00002-JPC Doc#:1 Filed: 01/21/25 3 of 10. PagelD #: 3

means are only permitted “after the party requesting the accommodation diligently attempted to
effectuate personal service.” Jd. at *31

Plaintiff did not properly serve the subpoena on Mr, Moyer. Instead, Plaintiff left a copy
of the subpoena at a residence. Such actions do not constitute service for at least two reasons.
First, the Federal Rules of Civil Procedure specifically delineate between service by “delivering a
copy” and by “leaving a copy .. . at the individual’s dwelling.” Fed, R. Civ. P. 4(e)(2); see also
Kondik v. United States, 81 F.3d 655, 656 (6th Cir. 1996) (noting that a federal law provided for
service through “personal service or leaving a copy . . . at the person’s last and usual place of
abode” (quotation omitted)), Because the Rules set forth that delivering a copy and leaving a copy
at a person’s residence are two separate methods of service, Rule 45’s use of “delivering a copy”
cannot include leaving a copy of the subpoena at a person’s residence.

Second, even if leaving a copy at a residence was sufficient (it is not), such method could
only be used after requesting different service and after “diligently attempt[ing] to effectuate
personal service.” Damsi at *31. Yet, there is nothing on the docket indicating that the plaintiff
requested alternative service or was diligent in attempting to effectuate personal service. See Ex. B
(D. Mass. Docket).

Accordingly, because the plaintiff failed to comply with the requirements of Rule 45, this
Court should quash the subpoena. Hill at 552-53,

B, The Subpoena Fails to Allow a Reasonable Time to Comply.

The subpoena here was improperly left at a residence on January 17, 2023, but purports to
require Mr. Moyer’s attendance at a deposition on January 23, 2023. Moyer Decl. at § 1; Ex. A.
This is less than 7 days’ notice, which is unreasonable. See Donahoo vy. Ohio Dep’t of Youth

Servs., 211 F.R.D. 303, 306 (N.D. Ohio 2002) (holding that service within “one week” of the
Case: 1:25-mc-00002-JPC Doc #:1 Filed: 01/21/25 4 of 10. PagelD #: 4

deposition “did not provide for a reasonable time for compliance”); see also Gentille v. Kohl’s
Dep't Stores, Inc., 2016 U.S. Dist. LEXTS 144025, at *10-11 (S.D. Ohio Oct. 18, 2016) (finding
six days to be unreasonable); Friedberg v. Madison Realty Invs., Inc., 2016 U.S. Dist. LEXIS
51826, at *2 ($.D, Ohio Apr. 18, 2016) (quashing subpoena that allowed only eleven days for
compliance). Furthermore, Mr, Moyer is unavailable on January 23, 2023, as he has a previous
commitment on that day. Moyer Decl. at § 2.

Based on the failure to provide a reasonable time for compliance, this Court should quash
the subpoena pursuant to Rule 45(d)(3)}(i).

C. The Subpoena Subjects Mr. Moyer to Undue Burden.

The subpoena here subjects Mr. Moyer to undue burden for at least three reasons: (1) the
information sought is irrelevant, (2) the information sought is cumulative and can be obtained from
the parties in the case, and (3) subjecting Mr. Moyer to a deposition prejudices Mr. Moyer’s federal
cases.

1. Irrelevancy

First, Mr. Moyer does not have any testimony that would be relevant to the claims asserted
in the Massachusetts case. This Court has held that the “scope of a subpoena issued under Rule
45 of the Federal Rules of Civil Procedures is subject to the general relevancy standard applicable
to discovery Under Fed. R. Civ. P. 26(b)(1).” Cleveland Clinic Health Sys.-F. Region v. Innovative
Placements, Inc., 2012 U.S. Dist. LEXIS 7275, at *3-4, 8 (N.D. Ohio Jan, 23, 2012) (quotation
omitted) (granting motion to quash when subpoena sough irrelevant material); see also Hilton-
Rorar y. State & Fed. Communs., ine., 2010 U.S. Dist. LEXIS 864, at *6 (N.D. Ohio Jan. 5, 2010)

(quashing subpoena when “the documents demanded [were] not relevant to nor likely to lead to
Case: 1:25-mc-00002-JPC Doc#:1 Filed: 01/21/25 5o0f 10. PagelD #: 5

relevant information”); Johnson v. Guards Mark Sec,, 2007 U.S. Dist. LEXIS 97915, at *4 (N.D.
Ohio Mar. 30, 2007).

The plaintiff's allegations in the Massachusetts case involve the plaintiff, SRH Holdings,
LLC’s relationship with GEICO. Ex. C (D. Mass. Doc. 25—-2d Am, Compl.). SRH Holdings was
run by Richard Hurwitz and had a GEICO Field Representative agreement (“GFR agreement) with
GEICO. /d, Plaintiff sold insurance policies on behalf of GEICO, but after some time, GEICO
terminated the GFR agreement. /d. Plaintiff then filed a complaint (and subsequently two
amended complaints) against GEICO, which is pending in the District Court of Massachusetts. Jd.
Plaintiff has seven claims: (1) breach of contract for wrongful termination, (2) renewal
commissions for failure to pay commissions after terminating the GFR agreement; (3) unjust
enrichment for failure to pay commissions after terminating the GFR agreement; (4) breach of the
covenant of good faith and fair dealing for terminating the GFR agreement; (5) misrepresentation
based on statements GEICO made to plaintiff that allegedly induced plaintiff to sign the GFR
agreement; (6) violations of Mass. Gen. Laws ch, 149, § 148B, and (7) declaratory judgment
regarding the non-compete provision in the GFR agreement violating Massachusetts law.

The first four claims relate to the terms of the GFR agreement and GEICO’s termination
of that agreement. Mr. Moyer is not a party to the agreement between SRH Holdings and GEICO,
and he has no knowledge regarding SRH Holdings relationship with GEICO, Moyer Decl. at
{1 3-4. Mr. Moyer aiso has no knowledge concerning GEICO’s termination of the GFR
agreement, or the policy renewals plaintiff alleges it is entitled to receive. Id. ff 6-8. Mr. Moyer
simply has no testimony that could be relevant to claims 1-4.

Mr, Moyer also has no knowledge considering any representations GEICO made to SRH

Holdings or Mr. Hurwitz before SRH Holdings signed the GFR agreement. Jd. 95. Mr. Moyer

Case: 1:25-mc-00002-JPC Doc#: 1 Filed: 01/21/25 6 of 10. PagelD #: 6

was not party to any negotiations between SRH Holdings and GEICO and has no idea what may
or may not have been said. Mr. Moyer also has no knowledge as to whether any statements made
by GEICO were false, as he has no knowledge concerning plaintiff's relationship with GEICO,
id. 44. Thus, Mr. Moyer has no relevant information regarding claim 5.

Claim 6 alleges a violation of Massachusetts law, specifically Mass. Gen. Laws ch. 149,
§ 148B. This section of Massachusetts law provides that an individual performing services “shall
be considered” an employee unless “(1) the individual is free from control and direction in
connection with the performance of the service, both under his contract for the performance of
service and in fact; and (2) the service is performed outside the usual course of the business of the
employer; and, (3) the individual is customarily engaged in an independently established trade,
occupation, profession or business of the same nature as that involved in the service performed.”
Mass. Gen. Laws ch. 149, § 148B.

Mr. Moyer has no knowledge considering whether SRH Holdings was free from control
and direction with regard to its relationship with GEICO. Moyer Decl. 19. While Mr. Moyer also
had signed a GFR agreement with GEICO, Mr. Moyer lives in Avon, Ohio, and had his business
in North Olmsted, Ohio. Jd. [¥ 1, 12. His business was in a different region than SRH Holdings’
business, and they did not have the same managers. Jd. | 12. Mr, Moyer has no personal
knowledge regarding how GEICO treated insurance agents in Massachusetts, including plaintiff.

While Mr. Moyer could guess the types of services plaintiff provided GEICO by looking
at the GFR agreement, Mr. Moyer has no direct knowledge regarding the services plaintiff
performed, fd. ff 4, 10. Therefore, he has no personal knowledge regarding whether the
performed services are outside the usual course of GEICO’s business. /d. Lastly, because

Mr. Moyer has no direct knowledge considering the services plaintiff performed, Mr. Moyer does

Case: 1:25-mc-00002-JPC Doc#:1 Filed: 01/21/25 7 of 10. PagelD #: 7

not know whether plaintiff engaged in an independently established trade, occupation, profession,
or business in Massachusetts. Jd. ff] 4, 11. Furthermore, Mr. Moyer has no knowledge regarding
whether the selling of insurance products constitutes an independent trade, occupation, profession,
or business under Massachusetts law. fd. Accordingly, because Mr. Moyer has no knowledge
concerning any of the factors contained in Mass. Gen, Laws ch. 149, § 148B, Mr. Moyer can offer
no relevant testimony to support plaintiff's sixth claim.

Plaintiffs seventh claim is for declaratory judgment and claims that a non-compete
provision in the GFR agreement violates Massachusetts law. Ex. C. Again, Mr. Moyer has no
knowledge concerning the agreement between SRH Holdings and GEICO. Jd. Furthermore, the
provision should be plan on the face of the agreement; and thus, whether it violates Massachusetts
law should be purely a legal question. Mr. Moyer can offer no testimony that would be relevant
to determining whether plaintiff is entitled to a declaratory judgment regarding the non-compete
provision.

Because Mr. Moyer has no relevant testimony as to any of plaintiff's claims, requiring him
to sit for a useless deposition is an undue burden and violates Rule 26, which limits discovery to
only relevant materials. Accordingly, this Court should quash the subpoena. Hilton-Rorar at *7
(“Because the information and documents Defendants seek, however, are not relevant to the
underlying litigation, it is difficult to justify burdening a non-party with such a demand.”).

2. Cumulative

In addition, “a court must limit discovery that is unreasonably cumulative or duplicative,
or can be obtained from some other source that is more convenient, less burdensome, or less
expensive.” Cleveland Clinic Health Sys. at *5. As discussed above, SRH Holdings’ claims all

relate to its relationship GEICO, Together SRH Holdings and GEICO (the parties to the matter)
Case: 1:25-mc-00002-JPC Doc #:1 Filed: 01/21/25 8 of 10. PagelD #: 8

would have all the information needed to support or counter plaintiffs claims. Even if Mr. Moyer
had knowledge relating to plaintiffs claim (he does not), all such information would merely be
duplicative of the information possessed by the parties to the case. Mr. Moyer cannot offer
anything new or different that cannot be obtained from GEICO or is already possessed by plaintiff.

Accordingly, because any information Mr. Moyer had regarding plaintiff’s claims (he has
none) would be duplicative and because other sources of information exist that are more
convenient and less burdensome (i.e. the parties), this Court should grant Mr. Moyer’s motion to
quash the subpoena. /d.

3. Burdensome

Mr. Moyer has his own claims against GEICO based on his GRF agreement that are
currently pending in this Court. See JCM Ins. Servs., Inc. vy. Gov’t Empls. Ins. Co., N.D, Ohio
No. 1:23-cy-1801. As such, Mr. Moyer is likely to be deposed by GEICO relating to Mr. Moyer’s
relationship with GEICO and his GFR agreement. Rule 30(d) of the Federal Rules of Civil
Procedure limit depositions to “| day of 7 hours.” The committee notes to this rule state the reason
for adding a time limitation was because “overlong depositions can result in undue costs and
delays,” Fed, R. Civ. P. 30 advisory committee’s note. The committee notes further indicate that,
absent agreement from the parties, “a court order is needed” to extend the time and the party
seeking an extension must “show good cause to justify such an order.” /d. Having Mr. Moyer
testify at a deposition in the Massachusetts case would allow GEICO two depositions of Mr. Moyer
without having to show good cause.

Additionally, because Mr. Moyer has a pending case against GEICO, there may be
privileged matters to protect during any deposition. This means that undersigned counsel would

need to be present for any deposition of Mr. Moyer, which increases the burden and costs, When
Case: 1:25-mc-00002-JPC Doc#:1 Filed: 01/21/25 9 of 10. PagelD #: 9

these burdens and costs are coupled with the complete irrelevancy of any testimony Mr. Moyer
could provide, the clear conclusion is that this Court should quash the subpoena.
D. Counsel Attempted to Resolve These Issues.

Local Rule 37.1 requires the parties to meet and confer regarding discovery disputes. It is
unclear whether this rule also applies to non-parties who are subject to a subpoena. However,
counsel for Mr. Moyer did attempt to resolve this matter without court intervention. Counsel had
two calls with plaintiff's counsel in an attempt to understand why Mr. Moyer was subpoenaed and
what relevance his testimony could have to plaintiff's case. Declaration of Stefanie Coe.

Unfortunately, counsel was not able to resolve Mr. Moyer’s objections, which necessitated the

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filing of this motion.

Counsel for James Moyer
Case: 1:25-mc-00002-JPC Doc #:1 Filed: 01/21/25 10 of 10. PagelD #: 10

CERTIFICATE OF SERVICE

I hereby certify that on January 21, 2025, a true and accurate copy of the forgoing motion
was served via email upon the following:

Michael B. Cosentino
mcosentino@wenllp.com

Attorney Jor SRH Holdings, LLC

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Tiffany UY Carwile

